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 1 [Counsel on signature page]

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 8                                  UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
                                         OAKLAND DIVISION
10

11 Abdi Nazemian, et al.,                            Case No. 4:24-cv-01454-JST
                                                     Case No. 4:24-cv-02655-JST
12                  Plaintiffs,
13          vs.                                      RESPONSIVE BRIEF IN FURTHER
                                                     SUPPORT OF PLAINTIFFS’ PROPOSED
14 NVIDIA Corporation,                               ESI AND PROTECTIVE ORDERS
15                  Defendant.
16
     Andre Dubus III, et al.,
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                    Plaintiffs,
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            vs.
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     NVIDIA Corporation,
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                    Defendant.
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                                                       Case Nos. 4:24-cv-01454-JST; 4:24-cv-02655-JST
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 1 I.      Introduction

 2         NVIDIA Corporation’s (“NVIDIA”) reliance on the most restrictive provisions of the

 3 Model Patent Order (“MPO”) in these complex copyright class actions is fundamentally

 4 misguided. Although NVIDIA asserts that it has adopted the MPO “with limited modifications,”

 5 ECF No. 73 at 7, the only provisions NVIDIA has retained from the MPO are those specifically

 6 designed to constrain discovery.1 The draconian limits on email discovery, custodians, and search

 7 terms in NVIDIA’s proposed ESI Protocol, ECF No. 73-4 (“NVIDIA’s ESI Protocol”), are

 8 untenable here. To prove their claims and overcome NVIDIA’s defenses, Plaintiffs must secure

 9 discovery of internal communications, datasets, and corporate decision-making processes

10 concerning the use of Plaintiffs’ works in training AI models. Discovery must extend beyond the

11 technical development of AI models and include broader organizational conduct at NVIDIA. See

12 Declaration of Craig Ball, dated September 18, 2024, ECF No. 74-2 (“Ball Decl.”), ¶ 10. For

13 example:

14            To effectively litigate the fair use defense, Plaintiffs are entitled to discovery that
15             uncovers NVIDIA’s internal discussions regarding the purpose and character of its

16             infringing use of Plaintiffs’ works, as well as communications about the potential

17             market impact of licensing Plaintiffs’ works instead of copying them for training

18             NVIDIA’s models.2 NVIDIA insisted that the fair use defense be foregrounded in this

19             litigation, see ECF No. 69, and cannot now limit Plaintiffs’ ability to pursue the

20             discovery essential to rebut that defense.

21            These cases potentially involves millions of infringed works and decision-makers
22             spanning NVIDIA’s research, development, and executive teams. Limiting discovery

23             as NVIDIA suggests would obstruct Plaintiffs’ access to crucial documents, including

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     A redline of NVIDIA’s proposed ESI protocol against the MPO demonstrates that NVIDIA
26 borrowed only about 20% of the MPO’s text. See ECF No. 73-5.
     2
27  See, e.g., Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 526 (2023);
   Harper & Row, Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 546 (1985); Thomson
28 Reuters Enter. Ctr. GmbH v. Ross Intel. Inc., No. 1:20-CV-613-SB, 2023 WL 6210901, at *10 (D.
   Del. Sept. 25, 2023).
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 1              communications that reveal how and why NVIDIA utilized Plaintiffs’ copyrighted

 2              works to train its AI models. See Ball Decl. ¶¶ 10-12.

 3             Plaintiffs’ recovery of full statutory damages depends on proving willfulness, which
 4              impacts potential penalties under the Copyright Act. See 17 U.S.C. 504(c)(2);

 5              Unicolors Inc. v. Urban Outfitters Inc., 853 F.3d 980, 991 (9th Cir. 2017). NVIDIA’s

 6              proposed discovery limits would severely impair this aspect of Plaintiffs’ cases. See

 7              Rader Decl. ¶ 12; Ball Decl. ¶¶ 9-12.

 8          Additionally, NVIDIA’s attempt in its proposed protective order, ECF No. 73-2

 9 (“NVIDIA’s Protective Order”) ¶ 2.9, to designate a broad range of documents, such as training

10 datasets, as “source code,” would unnecessarily burden Plaintiffs’ review of routine data, further

11 impeding discovery of essential evidence. See Declaration of Randall R. Rader, dated September

12 19, 2024, ECF No. 74-1 (“Rader Decl.”) ¶¶ 12-13.

13          Plaintiffs’ proposed ESI protocol, ECF No. 74-3 (“Plaintiffs’ ESI Protocol”), and

14 protective order, ECF No. 74-4 (“Plaintiffs’ Protective Order”), are specifically crafted to address

15 the complexities of this litigation, balancing the need for robust discovery with the proportionality

16 principles of Rule 26(b)(1) of the Federal Rules of Civil Procedure. Given the systemic and large-

17 scale infringement at issue, broader discovery parameters are not only warranted but essential to

18 Plaintiffs’ ability to prove their claims. See Ball Decl. ¶¶ 8-11. The Court should reject NVIDIA’s

19 overly restrictive discovery framework, which is designed for patent cases, and instead adopt

20 Plaintiffs’ ESI Protocol and Protective Order, which offer reasonable protections for confidential

21 information without unduly hindering the discovery process.

22 II.      NVIDIA’s Proposed Custodian and Search Term Limits are Unworkable

23          NVIDIA’s proposed limit of eight custodians, see NVIDIA’s ESI Protocol ¶ 10, is

24 unreasonable and contrary to the needs of these cases. Plaintiffs’ allegations encompass complex

25 copyright infringement issues spanning multiple departments within NVIDIA. Imposing such

26 restrictive limits would exclude critical internal communications and hinder the discovery of

27 relevant evidence essential under Rule 26(b)(1). At least one court has rejected similarly restrictive

28 approaches in cases involving large datasets and systemic issues, recognizing the necessity of

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 1 broader discovery to uncover relevant information. See In re OpenAI ChatGPT Litigation, Lead

 2 Case No. 3:23-cv-3223-AMO (N.D. Cal.), ECF No. 175 (order in generative AI copyright

 3 infringement case allowing plaintiffs to seek discovery from 24 custodians). Plaintiffs’ proposal

 4 for 24 custodians and more flexible search terms, Plaintiffs’ ESI Protocol ¶ 5(A)-(C), is

 5 appropriate given the scale and complexity of these cases.

 6          NVIDIA’s arbitrary limitations on search terms also risk excluding key documents. See

 7 Ball Decl. ¶ 9. Internal discussions about the use of copyrighted material in AI training likely

 8 involve varied terminology across departments. Different teams may use technical jargon, legal

 9 terms, or informal language, making broader search flexibility essential to capturing all relevant

10 information. Modern litigation, especially cases involving complex technology like AI, requires

11 flexible ESI discovery to account for varied terminologies and communication channels. See id. ¶¶

12 8-9. Restricting search terms would prevent Plaintiffs from fully exploring NVIDIA’s internal

13 communications, which is critical to their claims. See Fed. R. Civ. P. 26(b)(1).

14 III.     NVIDIA Inexplicably Fails to Address Structured Data and Model Data

15          NVIDIA’s omission of provisions for structured data and model data is a significant

16 deficiency in their proposal. Structured data, training datasets, model parameters, and logs, are

17 central to these cases. Absent clear guidelines for its production and review, Plaintiffs will be

18 denied access to key evidence necessary to prove that NVIDIA improperly used their copyrighted

19 materials. This data is crucial for establishing how Plaintiffs’ works influenced the AI models and

20 determining the extent of infringement. See Ball Decl. ¶ 14. NVIDIA’s approach of delaying

21 resolution on procedures for structured and model data creates unnecessary obstacles. Plaintiffs’

22 proposal ensures that relevant data is produced promptly and comprehensively, allowing for a full

23 and fair assessment of NVIDIA’s use of copyrighted material. Delaying discovery of structured

24 data would obstruct Plaintiffs’ ability to gather essential evidence and undermine the principles of

25 transparency and fairness central to the discovery process. See id. ¶¶ 12, 16.

26 IV.      NVIDIA’s Email & Mobile Device Discovery Limitations Are Overly Restrictive

27          NVIDIA’s proposed limitations on email discovery are also unworkable. See NVIDIA’s

28 ESI Protocol ¶¶ 7, 9, 10-11. By prohibiting general email discovery and allowing only narrowly

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 1 tailored, issue-specific requests, NVIDIA seeks to significantly limit Plaintiffs’ ability to uncover

 2 critical communications. In cases involving broad copyright infringement, such restrictions are

 3 impractical, contrary to the discovery principles outlined in Rule 26(b)(1), and would prevent

 4 Plaintiffs from obtaining key internal discussions reflecting decision-making processes across

 5 NVIDIA’s departments.

 6          Plaintiffs’ approach to email discovery is necessary and proportional to the cases. See

 7 Plaintiffs’ ESI Protocol ¶ 5. To understand how NVIDIA used Plaintiffs’ copyrighted works,

 8 access to internal communications is essential, including discussions that reveal broader patterns

 9 of conduct. Restricting email discovery as NVIDIA proposes would severely hinder Plaintiffs’

10 ability to assess the full scope of infringement. See, e.g., Coach Servs., Inc. v. YNM, Inc., No. CV

11 10-2326-JST (PLAx), 2011 WL 759876, at *3 (C.D. Cal. Jan. 18, 2011) (“Without the discovery,

12 plaintiff is prevented from learning the details of the full scope of the alleged infringement by

13 defendants”); SGII, Inc. v. Martin, No. 8:19-cv-00541-JVS-KESx, 2021 WL 1593246, at *3 (C.D.

14 Cal. Mar. 3, 2021) (similar).

15          Excluding certain forms of electronic correspondence, such as communications through

16 Slack, Teams, or other collaboration platforms, is also unjustified. See Ball Decl. ¶ 9. Modern

17 corporate communications frequently occur on these platforms and mobile apps, which are critical

18 for interdepartmental collaboration, particularly in technical environments like AI development.

19 See id. These platforms likely contain essential discussions about AI training and the use of

20 copyrighted works, including informal or off-the-record conversations not captured in emails,

21 making them vital to understanding NVIDIA’s operations during the relevant period. See id.

22 Excluding these communications from discovery would leave a significant gap in the evidence,

23 obstructing Plaintiffs’ ability to obtain the full scope of relevant information. See id.

24 V.       NVIDIA’s Definition of “Source Code” is Overbroad & Burdensome

25          NVIDIA’s Protective Order’s treatment of training data and model parameters as “Source

26 Code” is overly expansive and unjustified. See NVIDIA’s Protective Order ¶ 2.9. By extending

27 heightened confidentiality protections typically reserved for actual source code to non-source code

28 documents, NVIDIA seeks to shield critical evidence from discovery. This overbroad

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 1 classification would severely limit Plaintiffs’ access to essential information, including datasets

 2 used to train NVIDIA’s AI models. Such a broad definition of “Source Code” creates unnecessary

 3 obstacles to understanding how Plaintiffs’ copyrighted works were misused, undermining the

 4 discovery process and the principles of proportionality and relevance under Rule 26(b)(1).

 5          Plaintiffs’ definition of “source code” is more precise and appropriate. “Source Code”

 6 should refer strictly to human-readable programming code, not datasets or model parameters. See

 7 Plaintiffs’ Protective Order ¶ 2.18. Plaintiffs’ narrower definition ensures that documents critical

 8 to proving copyright infringement, such as training data and related logs, remain accessible.

 9 Limiting heightened confidentiality to actual source code—and any additional materials the

10 Parties mutually agree warrant similar protection—strikes an appropriate balance. Courts have

11 consistently held that confidentiality designations must be narrowly tailored to avoid overbroad

12 protections. See Tan v. Konnektive Rewards, LLC, No. 20-cv-1082-LL-DDL, 2023 WL 2336893,

13 at *6 (S.D. Cal. Mar. 2, 2023) (“The indiscriminate designation of documents is an abusive

14 discovery practice that attempt[s] to shift the burden of identifying a party’s confidential

15 information to other parties.”) (quotation omitted).

16          NVIDIA’s proposal would impose further unnecessary barriers on the discovery process.

17 Requirements for in-person review of non-source code material designated as “Source Code” and

18 restrictions on expert access create significant hurdles for Plaintiffs. See NVIDIA’s Protective

19 Order ¶¶ 7.4(a)(2), 9. These excessive measures would limit Plaintiffs’ ability to effectively

20 review critical evidence, such as AI training data, by complicating the logistics of expert analysis.

21 Plaintiffs’ proposal, by contrast, offers adequate protection for genuinely sensitive documents

22 while ensuring that discovery proceeds transparently and efficiently.

23 VI.      Conclusion

24          For these reasons, Plaintiffs respectfully request that the Court adopt Plaintiffs’ ESI Protocol

25 and Protective Orders in full and reject NVIDIA’s overly restrictive proposals. Plaintiffs’ proposals

26 would ensure that discovery in these cases is both comprehensive and efficient, promoting a fair

27 resolution of Plaintiffs’ claims in accordance with the Federal Rules.

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 1 Dated: September 26, 2024                          Respectfully submitted,

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